           Case 1:19-vv-01418-UNJ Document 34 Filed 06/08/21 Page 1 of 2




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1418V
                                        (not to be published)


    JESUS GARCIA,
                                                                Chief Special Master Corcoran
                          Petitioner,
    v.                                                          Filed: May 7, 2021


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


John Robert Howie, Howie Law, PC, Dallas, TX, for Petitioner.

Emilie Williams, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

        On September 16, 2019, Jesus Garcia filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration, which meets the Table definition for SIRVA, or, in the alternative, was
caused-in-fact by the influenza vaccine he received on December 1, 2017. (Petition at 1
¶¶ 1, 38). On February 25, 2021, a decision was issued awarding compensation to
Petitioner based on the Respondent’s proffer. (ECF No. 24).

1
   Because this unpublished Decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all “§” ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:19-vv-01418-UNJ Document 34 Filed 06/08/21 Page 2 of 2




      Petitioner has now filed a motion for attorney’s fees and costs, dated April 3, 2021
(ECF No. 30), requesting a total award of $20,691.07 (representing $19,885.20 in fees
and $805.87 in costs). In accordance with General Order No. 9, Petitioner filed a signed
statement indicating that he incurred no out-of-pocket expenses. (ECF No. 30-4).
Respondent did not file a response.

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $20,691.07 (representing $19,885.20 in fees and $805.87 in costs) as a
lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel. In
the absence of a timely-filed motion for review (see Appendix B to the Rules of the Court),
the Clerk shall enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                  2
